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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT


IN RE: HIGHER ONE ONEACCOUNT MARKETING                  No. 3:12-md-2407 (VLB)
AND SALES PRACTICES LITIGATION


THIS DOCUMENT RELATES TO:

Price, et al. v. Higher One Holdings, Inc., et al.
D. Conn. Case No. 3:12-cv-01093-VLB

Parker, et al. v. Higher One Holdings, Inc., et al.
N.D. Miss. Case No. 1:12-cv-00154-NBB-DAS
D. Conn. Case No. 3:12-cv-01788-VLB

Kent, et al. v. Higher One Holdings, Inc., et al.
M.D. Ala. Case No. 2:12-cv-00712-NHT-TPM
D. Conn. Case No. 3:13-cv-00048-VLB

Massey, et al. v. Higher One Holdings, Inc., et al.
S.D. Ill. Case No. 3:12-cv-01149-MJR-SCW
D. Conn. Case No. 3:12-cv-01808-VLB

Lanham, et al. v. Higher One Holdings, Inc., et al.   May 13, 2013
W.D. Ky. Case No. 3:12-cv-00693-S
D. Conn. Case No. 3:12-cv-01811-VLB

    PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
                        MOTION TO DISMISS
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                              I.     INTRODUCTION

      Plaintiffs are students from colleges across the country who allege that

Defendant Higher One Holdings, Inc. (“Higher One”) and its banking-partner co-

defendants The Bancorp Bank and Wright Express Financial Services

Corporation (collectively “Defendants”) have devised a scheme to keep them and

thousands of other students captive to Higher One for access to their own

financial aid funds. After steering Plaintiffs into Higher One bank accounts,

Defendants charged them undisclosed, deceptive and unconscionable fees.

      As Plaintiffs allege in detail in the Consolidated Amended Complaint

(“CAC”), Defendants sent “debit cards” co-branded with the students’ university

logos to Plaintiffs. The accounts associated with these debit cards were the

default option for financial aid disbursement for entire campuses. The only way

for Plaintiffs to immediately access and obtain their financial aid refunds was to

go to the Higher One website and activate these debit cards. When the Plaintiffs

activated their accounts, they were not provided disclosures of certain fees.

Instead, the fee information was “submerged” in a separate document that no

reasonable internet user would have viewed.

      Then, the fees started. Every time students used their so-called debit card

to make PIN-based transactions, Defendants charged them a $.50 fee. Indeed, the

only way to avoid the fee was for students not to use their debit cards as debit

cards, but to use them as a credit card, and sign for the transaction. Defendants

also charged Plaintiffs two ATM fees for every single ATM transaction not made

at one of the needle-in-a-haystack Higher One ATMs—meaning a fee of $4.50 or
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more for a student to access his or her own financial aid money. Neither fee was

disclosed anywhere in the Terms and Conditions and Related Disclosures

(“T&C”), and both are highly unusual fee in the banking industry. Some Plaintiffs

incurred overdraft fees for using—or attempting to use—more financial aid

money than they had.

      Though this is Defendants’ second motion to dismiss (the first having been

denied as moot in light of Defendants’ current Motion to Dismiss (“Motion”)),

Defendants for the first time argue that Plaintiffs’ state law claims are expressly

preempted by the Higher Education Act (“HEA”). This is an extraordinary

overreach. The express HEA preemption provision Defendants invoke only

preempts state law claims that would impose disclosure requirements on

students’ loans. While this Court has held a state law claim “rooted in a failure to

disclose information required by the HEA would likely fall within” the terms of

this express preemption provision, Linsley v. FMS Inv. Corp., 3:11CV961 VLB,

2012 WL 1309840, at *4 (D. Conn. Apr. 17, 2012), that is not the case here.

Defendants here did not make any of the HEA–required disclosures relating to

student loans (because they do not make student loans). Plaintiffs’ inadequate

disclosure allegations only concern bank account terms—not the terms of the

loan, the requirements for loan consolidation, or any other disclosures mandated

or governed by HEA. If Higher One’s breathtakingly broad HEA preemption

argument were countenanced, any bank in the country that had a student’s loan

proceeds on deposit could use HEA preemption as a defense to any claims

regarding that account.



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      Nor is conflict preemption applicable. As numerous courts have held, the

purpose of the HEA is to create a uniform market for student loans, and to

ultimately encourage lenders to make such loans. Plaintiffs’ claims do not

conflict in any way with this goal. Nor do their claims in any way interfere with

the regulatory system established to implement this goal.

      Defendants also argue that some of Plaintiffs’ allegations are “conclusory”

and do not contain enough facts. To the contrary, the CAC is extremely detailed;

it describes the uniform misconduct to which each Plaintiff was subjected, it

contains individualized attestations of causation, and it describes the individual

harm each Plaintiff suffered. There is no serious dispute that Defendants have

been put on notice of the claims against them, and that Plaintiffs have “plead[ed]

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (citation omitted).

      Defendants also argue that “certain of the allegations supporting Plaintiffs’

CUTPA and other state consumer protection claims” are not “plausible.” First, it

is well-settled that a court cannot be asked to analyze and decide whether

individual factual allegations are “implausible.” Braden v. Wal-Mart Stores, Inc.,

588 F.3d 585, 594 (8th Cir. 2009) (citing Vila v. Inter-Am. Inv., Corp., 570 F.3d 274,

285 (D.C. Cir. 2009)). The issue before the Court is whether the claims made are

plausible or not. Even if this Court were to engage in the wild goose chase that

Defendants request, however, none of the four allegations identified by

Defendants are implausible.



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      Defendants ask the Court to dismiss the unjust enrichment claim because

Plaintiffs also allege a breach of contract claim. But Plaintiffs’ primary theory in

this case is that there was no contract with respect to certain fees—because they

were submerged in a hidden Fee Schedules that never became part of a “meeting

of the minds” needed to form a valid contract. If they fail on this unjust

enrichment theory (after discovery), they are entitled to proceed with their

alternative contract claim.

      Defendants also ask this Court to dismiss Plaintiffs’ express breach of

contract and breach of the implied covenant of good faith and fair dealing claims.

Defendants’ argument for dismissal of the contract claim is that the contract

expressly authorized Defendants’ assessment of two ATM fees for each non-

Higher One ATM transaction. As alleged in the CAC, the only document that

could arguably be construed as a contract (the T&C) merely informed Plaintiffs

that the ATM owner would charge a single ATM fee—it made no mention of a fee

to be charged by Defendants. The only potential mention of that fee was in the

submerged Fee Schedules. And nowhere did Higher One ever inform Plaintiffs

that they would be systematically charged two fees for the same transaction.

      Plaintiffs’ good faith and fair dealing claim must also be allowed to stand

because, contrary to Defendants’ argument, Plaintiffs do not seek to vary the

terms of the T&C. Higher One was required to use its contractual discretion in

good faith. It did not. The T&C said Higher One “may” charge overdraft fees; in

reality, it was a systematic certainty that Higher One would charge these fees on

students’ protected financial aid funds every time it was given the chance.



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      Defendants also argue that Plaintiffs’ conversion, statutory theft, and

rescission claims should be dismissed. As discussed above, Plaintiffs have

adequately pled that no “meeting of the minds” occurred to form a valid contract,

making rescission a proper remedy. Lastly, Defendants’ conversion and

statutory theft arguments incorrectly construe Connecticut law as barring those

causes of action with respect to funds held in bank accounts. For these reasons,

Defendants’ motion to dismiss those claims must be denied.

                           II.   STATEMENT OF FACTS

A.    Defendants defaulted Plaintiffs into Higher One accounts.

      Without Plaintiffs’ authorization, Defendants acquired private information

from Plaintiffs’ education and financial records. CAC, ¶¶ 47-48. Defendants used

this information to open bank accounts and distribute pre-loaded debit cards to

Plaintiffs—without Plaintiffs’ consent. Id., ¶ 49. Defendants thereby created a

default that Plaintiffs had to opt-out of if they wished to use a different banking

services provider to receive their financial aid money. Id., ¶ 51.

B.    Higher One sent Plaintiffs deceptively “co-branded” debit cards.

      Prior to the beginning of a semester, each Plaintiff received in the mail a

Higher One debit card prominently emblazoned with the name and logo of

Plaintiffs’ respective colleges and universities. Id., ¶ 55. Each Plaintiff believed

these representations to indicate that his or her school endorsed or required

Higher One’s checking account as the best or only way to receive financial aid

money. Id., ¶ 56. Prior to the beginning of a term, each Plaintiff also received an

email from Higher One stating that his or her college had “partnered with Higher



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One to provide a new method for receiving financial aid disbursements” to all

students. Id., ¶ 58. Each Plaintiff stayed in the Higher One “default” because, in

part, he or she believed use of the Higher One account was the only or best way

to receive financial aid funds disbursed by his or her school. Id., ¶ 60.

C.    Higher One deceptively discouraged Plaintiffs from opting-out of their
      Higher One accounts by threatening delayed access to financial aid money.

      Plaintiffs were required to use Higher One’s website in order to receive any

financial aid refund. The site was co-branded with Plaintiffs’ schools’ logos.

CAC, ¶ 64. Plaintiffs did not opt out of the default option because Defendants

would have delayed access to their much-needed financial aid money if Plaintiffs

had chosen other options. Id., ¶ 65. Plaintiffs were each told that they would get

their financial aid refunds “immediately” if they choose Higher One and that their

financial aid disbursements would be delayed if they opted-out of the Higher One

account default. Id., ¶ 66. The reason this refund would be “delayed” is that

Defendants intentionally made other options more time-consuming. Id., ¶ 67.

D.    Defendants purposely made it difficult for Plaintiffs to opt-out of the Higher
      One account by foreclosing other banking options.

      Defendants did not provide an electronic online option for Plaintiffs to

deposit their financial aid refunds in another bank of their choosing. Id., ¶ 74.

Had direct deposit been available as an online option (and thus not come with an

artificial time delay), Plaintiffs could have and would have used their existing

bank accounts, and accounts at different banks, to deposit their financial aid

funds. Id., 75.




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E.    Higher One provided deceptive account disclosures to Plaintiffs and
      concealed the unconscionable and unusual fees associated with the
      accounts.

      Plaintiffs appended two documents to their CAC that purported to govern

their relationship with Defendants. The first document was the T&C and was

attached as Exhibit B. Defendants never provided the T&C to Plaintiffs in written

form, and Plaintiffs were not required to view the T&C prior to electing their

disbursement choices. CAC, ¶¶ 82, 189.

      The second document is entitled Fee Schedules, attached as Exhibit C.

The Fee Schedules was a separate document, and Plaintiffs could not view it

without clicking a separate link from the T&C. Even if a student clicked on that

link, the fees at issue here were submerged, and could only be viewed if the

student scrolled down to another page on the website, after reading through a

page deceptively filled with all of the free services offered by Higher One. CAC, ¶

83. As such, the fees at issue in this litigation were doubly submerged. The Fee

Schedules is the only place any reference to the PIN-Based Transaction Fee is

made. Id., ¶ 83. The Fee Schedules is the only place Defendants even arguably

disclosed a Non-Higher One ATM Fee that they would charge (in addition to the

fee charged by the ATM owner). Id., ¶ 92.

      Defendants improperly attached a document to their Motion that was not

referenced in the CAC. MTD, at Exh. 2. They argue, without allowing Plaintiffs

any opportunity to test the sufficiency of the evidence, that the document “shows

that Plaintiff Crockett was required to click ‘I agree’ to accept” the T&C. MTD, at




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6. If anything, this document shows that reasonable internet users would activate

their Higher One debit cards without viewing the Fee Schedules.

F.    Higher One breached the contract when it charged two ATM fees for each
      non-Higher One ATM withdrawal.

      Plaintiffs (with the exception of Plaintiff Hannibal) paid two ATM fees for

each ATM withdrawal they made from a non-Higher One ATM. CAC, ¶ 88. The

only mention of a non-Higher One ATM fee in the T&C is a notification that the

other bank may charge such a fee. Nowhere in the T&C is there any suggestion

that Higher One will charge its own fee for the use of a non-Higher One ATM. Id.,

¶ 91. In the Fee Schedules, which was submerged from Plaintiffs’ view, one ATM

fee is disclosed. The Fee Schedules does not indicate that the ATM fee was

being charged by Higher One. Id., ¶ 92. Nowhere in either of these documents

did Higher One ever inform Plaintiffs that they would be systematically charged

two fees for the same ATM transaction. Id., ¶ 94.

G.    By providing an extremely limited number of “in-network” ATMs, which
      themselves provide only limited hours and days of operation, Higher One
      made it impossible for Plaintiffs to avoid non-Higher One ATM Fees.

      The ATM fees are additionally oppressive because “in-network” Higher One

ATMs are exceedingly rare, and are not available to students at all hours, on

weekends, or during school vacations or holidays. Therefore, Plaintiffs could not

reasonably avoid such fees, and they were forced to use “out of network” ATM

machines during these periods and when out of range of the very few in-network

ATMs. CAC, ¶ 97. Higher One intentionally limits the number of “in-network”

ATMs it provides in order to increase its ATM fee revenue. Id., ¶ 98. Higher One

intentionally limits the access hours of its “in-network” ATMs in order to increase


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its ATM fee revenue. Id., ¶ 99. Higher One concealed the fact of extremely limited

access to Higher One ATMs from Plaintiffs at the time they were forced to choose

whether or not to “opt-out” of a Higher One account. Id., ¶ 103.

      Each Plaintiff (with the exception of Plaintiff Hannibal) was forced to use a

non-Higher One ATM in order to access his or her financial aid funds because it

was difficult or impossible for Plaintiffs to access the Higher One ATM(s) on their

respective campuses at the time and place they needed to withdraw their

financial aid funds. Id., ¶ 101.

H.    By labeling its access device a “debit card,” Higher One deceived Plaintiffs
      into incurring “PIN-Based transaction fees”.

      The Higher One debit cards issued to Plaintiffs were boldly stamped with

the word “DEBIT” on the front of the card and in two other places on the card.

CAC, ¶ 111. Yet each time Plaintiffs swiped the card as a “debit” and entered

their PIN, they were charged a 50-cent PIN-Based Transaction Fee by Higher One.

The only way to avoid that 50-cent fee on every purchase is to press “credit” at a

sales terminal and sign the receipt. Id., ¶ 114. Higher One did not adequately

disclose this fact to Plaintiffs, mentioning the existence of the fees only in a

doubly submerged portion of the Fee Schedules. Higher One also misled

Plaintiffs by placing the term “debit” on the card and by referring to the “debit”

MasterCard in its contract documents, when, in fact, Plaintiffs had to select the

“credit” option in order to avoid the fee. Id., ¶ 115. Further, at some merchants,

students do not even have the choice of selecting the “credit” option. Id., ¶ 117.

Each Plaintiff incurred PIN-based Transaction Fees because they were not aware

they had to use the Higher One card as a “credit” card at the point of sale, or


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because there was no option to select “credit” at the merchant, or for both

reasons. Id., ¶ 120. The vast majority of U.S. banks do not charge such a fee. Id.,

¶ 122.

I.       Defendants unlawfully charged overdraft fees on accounts used for
         financial aid funds and violated the covenant of good faith and fair dealing.

         Plaintiffs Price, Crockett, and B. Kent were charged overdraft fees by

Defendants. CAC, ¶ 124. DOE regulations state that if a bank account is opened

for a student to receive a financial aid disbursement, an entity cannot

“subsequently convert the account, card, or device to a credit card or credit

instrument.” 34 C.F.R. § 668.164(c)(3)(vii). Because Defendants allow students to

overdraw their accounts and incur overdraft fees, Higher One debit cards are a

“credit instrument.” CAC, ¶ 125.

         Higher One reserved for itself the discretion as to whether or not to

authorize overdraft transactions and to charge Overdraft Fees. It had a duty to

exercise that discretion fairly and refuse to charge overdraft fees on protected

financial aid funds. Id., ¶ 128. Instead, Defendants systematically approved and

debited transactions which they knew would result in overdraft fees and which

they knew would turn Plaintiffs’ Higher One debit cards into credit access

devices, in violation of federal regulations. Id., ¶ 129.

J.       Higher One’s practices and fees are outliers in the industry.

         The fees Higher One charges are unusual with respect to Higher One’s peer

companies in the field of student financial aid disbursement. In many cases,

Higher One’s peer companies also refrain from using Higher One-like aggressive




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efforts to default students into accounts and to pressure students not to opt-out

of Higher One accounts. Id., ¶ 130-137.

K.    Defendants violate federal public policy promulgated in the Higher
      Education Act, DOE regulations, EFTA and Regulation E.

      In their CAC, Plaintiffs describe numerous regulations that Defendants

violate or undermine. Plaintiffs are not seeking to use this conduct to create a

private right of action under the regulations. Rather, the violations are referenced

only in the CUTPA and alternative consumer protection claims (and not in any of

the other causes of action) because the violations are only meant to buttress

Plaintiffs’ contentions under the “unfair” or “unlawful” prongs of CUTPA and the

consumer protection laws. Moreover, none of the regulations cited in the CAC

impose disclosure requirements relating to the terms of the students loans

themselves—such as repayment terms, loan consolidation and rehabilitation, or

interest rates.

      Notably, Defendants have pointed to no regulations that authorize or permit

the conduct that Plaintiffs complain of in the CAC.

                                 III.   ARGUMENT

A.    Legal Standard.

      Upon a motion to dismiss pursuant to Fed. R. Civ. P. Rule 12(b)(6), the

court must determine whether the plaintiff has stated a legally cognizable claim

by making allegations that, if true, would show he is entitled to relief. See Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 557 (2007). The court takes the factual

allegations of the complaint to be true, Hemi Group, LLC v. City of New York, 130




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S.Ct. 983, 986–87 (2010), and from those allegations, draws all reasonable

inferences in the plaintiff's favor. Fulton v. Goord, 591 F.3d 37, 43 (2d Cir. 2009).

      The plausibility requirement does not “require[] a complaint to include

specific evidence [or] factual allegations in addition to those required by Rule 8.”

Arista Records, LLC v. Doe 3, 604 F.3d 110, 119 (2d Cir. 2010). “[O]nce a claim

has been stated adequately, it may be supported by showing any set of facts

consistent with the allegations in the complaint.” Twombly, 550 U.S. at 563.

Courts, therefore, do not require “heightened fact pleading of specifics, but only

enough facts to state a claim to relief that is plausible on its face.” Id.

B.    The Higher Education Act does not expressly preempt any of Plaintiffs’
      claims.

      1.     §1098g does not preempt this lawsuit because Plaintiffs’ claims are
             not based on disclosures relating to the terms of any student loans.

      At the outset, it is important to note that the HEA has no provision

expressly preempting state consumer protection, contract, or fraud laws. See,

e.g., Coll. Loan Corp. v. SLM Corp., a Delaware Corp., 396 F.3d 588, 596 (4th Cir.

2005) (“The doctrine of express preemption has no application here (as the

parties agree), because the HEA makes no mention of preempting state tort and

contract claims.”); Cliff v. Payco Gen. Am. Credits, Inc., 363 F.3d 1113, 1125 (11th

Cir. 2004); Morgan v. Markerdowne Corp., 976 F. Supp. 301, 318 (D.N.J. 1997).

      While the HEA does preempt particular subjects of state law, those

preemption provisions must be read narrowly and cannot be construed to

preempt causes of action that are not expressly identified. “Such reasoning is a

variant of the familiar principle of expression unius est exclusio alterius:



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Congress’ enactment of a provision defining the pre-emptive reach of a statute

implies that matters beyond that reach are not pre-empted.” Cipollone v. Liggett

Grp., Inc., 505 U.S. 504, 517 (1992); accord Keams v. Tempe Tech. Inst., Inc., 39

F.3d 222, 225 (9th Cir. 1994) (holding that express provisions in the HEA which

preempt state law necessarily “imply that Congress intentionally did not preempt

state law generally, or in respects other than those it addressed”).

      Defendants argue that Plaintiffs’ state consumer protection act,

conversion, unjust enrichment, and statutory theft claims are expressly

preempted because “[t]he HEA contains a provision expressly preempting ‘any

disclosure requirements of any State law.’” MTD, at 11. Defendants do not tell

this Court that the full text of this provision, 20 U.S.C. § 1098g, is much more

limited: “Loans made, insured, or guaranteed pursuant to a program authorized

by title IV of the Higher Education Act of 1965 . . . shall not be subject to any

disclosure requirements of any State law.”

      By its plain terms, then, the HEA’s express preemption provision does not

concern any of Plaintiffs’ claims because those claims are not based on

disclosure requirement of any student loans. The claims, do not, for example,

concern the making of student loans, the repayment of student loans, disclosure

of student loan conditions, interest rates on student loans, or deferment options

on student loans. Plaintiffs’ complaints about PIN Transaction Fees and ATM

Fees have nothing to do with “loans made” or disclosures about those loans. It

would be improper to apply that clause’s express preemption of disclosures

related to lending activities to activities not even referenced in that clause.



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      In Genna v. Sallie Mae, Inc., 11 CIV. 7371 LBS, 2012 WL 1339482 (S.D.N.Y.

Apr. 17, 2012), the court refused to apply §1098g to preempt claims relating to a

lender’s collection activity. “Sallie Mae argues that state law claims must be

preempted lest they interfere with the levers and pulleys of the federal statutory

scheme. But this argument cuts too broad a swath.” Genna, 2012 WL 1339482, at

*9. That court said debt collection and loan servicing are “separate activities,”

and express preemption of claims relating to improper lending disclosures does

not govern other activities, including collection activities. Similarly here,

§1098g’s concern with student lending cannot be extended to improper debit card

fees simply because some fees are imposed on loan proceeds.

      Defendants’ argument that Higher One is a “third-party servicer” of student

loans is a red herring. It is true that lenders may assign their loans to “third-party

servicers,” in which case the loan servicer must also abide by federal

regulations. See 20 U.S.C. § 1082(a)(1); 34 C.F.R. §§ 682.203,682.700(a). Certain

activities of those student loan third party servicers might then be included in the

scope of the express preemption clause. See Chae v. SLM Corp., 593 F.3d 936,

939 (9th Cir. 2010). But that express preemption only applies to the disclosures

relating to the loans themselves. Therefore, a third-party servicer may not invoke

preemption with respect to claims that do not seek to impose additional

disclosure requirements relating to the lending or servicing of student loans. As

the Genna court found, “[t]here is nothing in the HEA that standardizes or

coordinates how a customer service representative of a third-party loan servicer

like Sallie Mae shall interact with a customer like [plaintiff] in the day-to-day



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servicing of his loan outside of the circumstance of pre-litigation informal

collection activity. Sallie Mae has not shown that § 1098g, or anything else in the

HEA, expressly preempts [plaintiff’s] claims.” Genna, 2012 WL 1339482 at *8.

      Higher One’s debit card disbursement activities are exponentially more

attenuated from Plaintiffs’ underlying student loan obligations than the “day to

day” servicing at issue in Genna. Indeed, unlike the defendant in Genna, Higher

One has nothing to do with Plaintiffs’ underlying student loan obligations.

Defendants’ tie to student lending is only that they deposit financial aid refunds—

only some of which are the proceeds of student loans—into debit card-linked

checking accounts. Therefore, Defendants cannot even be said to be “servicing”

any aspect of Plaintiffs’ student loans. Their activities are not included in the

scope of 1098g’s express preemption provision.

      The only cases Defendants cite for the proposition that their activities are

shielded by the express preemption clause are cases that concern allegations of

improper disclosures of the terms of federal student loans. For example, Linsley

concerns default options under a student loan. There, the plaintiff’s claims were

“predicated on FMS’s failure to properly disclose the HEA’s requirements for loan

consolidation and rehabilitation.” 2012 WL 1309840, at *6. Because those

activities directly concerned the loan obligation; because the DOE had prepared

specific disclosures and forms for the servicer to use; and because the servicer’s

activities plainly fell within the scope of the HEA express preemption provision,

this Court found “[plaintiff’s] CUTPA claim is . . . subject to express preemption

under Section 1098g.” Id., at *4.



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      Here, Plaintiffs’ underlying loan obligations are entirely unaffected by the

Higher One activities Plaintiffs challenge. Plaintiffs have to repay their student

loans, abide by the interest rate set on promissory note, and avail themselves of

deferment options specified by HEA and its implementing regulations—

regardless of whether those loan proceeds are deposited into a Higher One

account, an account at a different bank, or no bank account at all. Unlike the

plaintiff in Linsley, Plaintiffs here are not in any way challenging disclosures

made relating to the making or processing of their loans. Their allegations are

based on conduct relating to the operation of bank accounts that, in part, happen

to hold the funds from those loans.

      The two other cases Defendants rely upon even more directly concern

student lending, as they feature the quasi-governmental student lender Sallie Mae

itself as defendant. In Brooks v. Salle Mae, Inc., CV-096002530-S, 2011 WL

6989888 (Conn. Super. Ct. Dec. 20, 2011), a student challenged disclosures

regarding student loan payment deferments. Sallie Mae itself made or

consolidated the student loans at issue—activities falling within the core of

1098g’s express preemption provision—and was the actual holder of plaintiff’s

student loans. As this Court noted in Linsley, the court in Brooks held that

claims relating to processing practices—as opposed to disclosures—were “not

preempted.” Linsley, 2012 WL 1309840, at *5. Similarly, Plaintiffs’ claims have

nothing to do with their underlying loans or the terms of those loans.

      Defendants also rely upon the Ninth Circuit’s decision in Chae. In Chae,

Sallie Mae was allegedly “using billing statements and coupon books that trick



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borrowers into thinking that interest is being calculated via the installment

method when Sallie Mae really uses a simple daily calculation.” Chae., 593 F.3d

at 942 (citation omitted). The Ninth Circuit held that borrowers’ California

contract and consumer-protection law claims were preempted by the HEA

because they amounted to claims that a lender failed to properly disclose terms

relating to student loans. This case does not involve any such disclosures

relating to the terms of the loan or any loan servicing issues. Unlike in Chae,

Plaintiffs here make no allegations relating to interest rate, repayment schedules,

or any disclosures relating to the terms of the loan or repayment of the loan.

      Defendants cannot analogize Higher One to the lenders and loan servicers

in Brooks, Linsley, or Chae, because Higher One performs none of the same

functions. Nor can it bootstrap its attenuated connection to student loan

transactions into an HEA preemption clause that does not even cover financial

aid delivery or disbursement. Higher One cannot show that Congress intended

delivery of financial aid funds into debit card accounts to be subject to HEA

preemption. Defendants betray this reality when they argue that “the express

preemption provision exists because Congress and the DOE specified detailed

disclosure requirements that lenders and institutions . . . must make in

connection with student lending.” MTD, at 11 (emphasis added). Plaintiffs’

claims are not expressly preempted because Plaintiffs are not complaining about

disclosures associated with student lending.




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      2.        HEA regulations do not address the content of the Higher One
                disclosures.

      Defendants also argue that the HEA’s express preemption provision—

which does not include aid delivery or disbursement among its topics—should be

extended by this Court to shield their activities because of purportedly “detailed

disclosure requirements that lenders and institutions (and, by extension, third-

party servicers like Higher One) must make in connection with student lending.”

MTD, at 11. In fact, the regulatory scheme Defendants invoke is not “detailed”

with respect to the debit card activities that Plaintiffs challenge. Not one DOE

regulation guides Higher One on the content of account disclosures; not one

DOE regulation specifies the representations made on debit cards or in marketing

materials; not one DOE regulation guides the form or content of Higher One’s Fee

Schedules. Instead, Defendants strain to identify a total of three HEA provisions

that supposedly govern their “disbursement” activities: 20 U.S.C. 1083, 34 C.F.R.

§§668.164-165, and a “Dear Colleague” letter from the DOE. These regulations

barely touch upon aid delivery or disbursement by third parties, and make no

reference at all to debit card disbursement accounts or related disclosures. In no

way do they establish disclosure requirements that relate to the conduct at issue

in this case.

      The first statutory provision Defendants rely on for the proposition that the

HEA and its regulations govern their debit card disbursement activities is 20

U.S.C. § 1083. But the disclosures mandated in those regulations are directly

aimed at the activities of student loan lenders (and the third-party servicers of

loans made by those lenders)—not the activities of a company like Higher One,


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which has no connection to the underlying student loan obligation. Defendants

have not made and need not make any of these disclosures, because they are not

lenders and perform none of these functions.

       Defendants next rely on 34 C.F.R. §668.164-165, that purportedly “set forth

the requisite notices and authorizations an institution or servicer must make

when disbursing” financial aid funds. MTD, at 11. But, again, those regulations

do no such thing. First, those regulations represent DOE guidance to institutions

of higher learning, not servicers. Not surprisingly, then, they contain no

regulations about debit card disbursement procedures by entities like Higher

One. For example, 34 C.F.R. §668.164 deals almost exclusively with the timing of

the disbursement of loan proceeds, but only tangentially address Higher One’s

debit card distribution activities. 34 C.F.R. §668.164(c)(3)(ii) is the most specific

provision, but even its guidance says only when a disbursement account

disclosure must be made (“before an account is opened”), not what such a

disclosure is supposed to contain. As Defendants point out, 34 C.F.R.

§668.164(c)(3)(vii) states that a debit card cannot be made into a credit access

device, but establishes no disclosure requirements. Another section Defendants

rely on, 34 C.F.R. §668.165, relates to how students may cancel requests for

student loans or for grants—again, something irrelevant to Higher One’s

activities.

       Finally, Defendants rely on a “Dear Colleague Letter,” GEN-12-08. First, the

letter is not even directed at third party entities like Higher One; rather, the letter

provides “guidance to institutions that use contractors to deliver title IV credit



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balances to their students” and “reminds institutions of their responsibilities”

when doing so. On its face, the letter does not apply to the contractor-deliverers

themselves (like Higher One). Further proof that the letter is not directed at

entities like Higher One comes from the fact that the plain terms of the letter urge

institutions to proactively help students avoid predators like Higher One: “It may

be advisable for the institution to encourage its incoming students to open an

account at a financial institution of their own choosing before classes start, or

require students to provide information to the institution about their existing bank

account where the institution can make credit balance payments cheaply and

expeditiously via electronic funds transfers to those accounts.” Dear Colleague

Letter (emphasis added). Cf. CAC, ¶ 75 (alleging that Plaintiffs would not use

Higher One for delivery of funds if allowed to use existing bank account).

      Assuming that this advice applied not only to institutions but also to the

contractors, such as Defendants, it still would not provide a basis for express

preemption. The only express preemption provision arguably at issue, §1098g,

does not in any way bear upon these types of disclosures. Again, that provision

preempts state law claims based on allegations that disclosures relating to the

terms of a student loan violate state law. Separate guidance suggesting what

should be done with respect to debit cards does not transform the allegations in

this case to claims that Defendants are making unlawful disclosures about the

terms of the loans—which is all that is preempted by §1098g.




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      In sum, unlike the specific provisions and student disclosures drafted by

DOE that were at issue in Brooks, Linsley, and Chae, none of the provisions

Defendants rely on concern disclosures regarding the terms of the loan.

C.    The HEA does not “impliedly preempt” any of Plaintiffs’ state law claims
      because there is no “method-of-enforcement” conflict here.

      Defendants claim conflict preemption precludes Plaintiffs’ claims.1 Yet,

Defendants identify no actual conflict with the HEA. Instead, Defendants argue

that “Congress intended to provide the DOE with the exclusive power to interpret

and enforce the HEA’s provisions,” MTD, at 15, and that allowing Plaintiffs’

consumer protection law claims to go forward “would pose an obstacle to the

accomplishment of Congress’s goal of uniform federal enforcement of the HEA

by DOE.” Id. Defendants call this “method-of-enforcement preemption.” Id., at

18. Their principal support for this argument is Arizona v. United States, 132 S.

Ct. 2492, 2505 (2012). In Arizona, the State provided criminal liability to

undocumented aliens for acts that were subject to a strict federal regulatory

framework established by the Immigration Reform and Control Act of 1986. Id.

The Court found conflict preemption because this legislative history of ICRA

made it clear that “Congress decided it would be inappropriate to impose criminal

penalties on aliens who seek or engage in unauthorized employment.” Id., at




1
 Though Section II of Defendants’ Motion to Dismiss is entitled “Counts One and
Two are Impliedly Preempted,” Defendants do not appear to argue for field
preemption. Nor could they, since “[i]t is apparent . . . that Congress expected
state law to operate in much of the field in which it was legislating.” Keams, 39
F.3d at 225–226.


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2496. That is a far cry from determining that conflict preemption exists because a

federal statute (the HEA) does not have a private right of action.

      Defendants also claim that the D.C. Circuit’s decision in Armstrong v.

Accrediting Council for Continuing Educ. & Training, Inc., 168 F.3d 1362, 1369

opinion amended on denial of reh’g, 177 F.3d 1036 (D.C. Cir. 1999) “applied this

method-of-enforcement type preemption in the context of the HEA.” MTD, at 18

(citing Armstrong, 168 F.3d at 1369). That is a misreading of the Armstrong

decision. The D.C. Circuit held that the plaintiff could not void her student loan.

This was because her school misrepresented its accreditation. It based its

holding on the fact that the DOE had expressly stated that accreditation does not

affect the enforceability of the loan, but only a schools eligibility for federal aid.

Armstrong, 168 F.3d at 1369. Further, plaintiff’s claims directly implicated the

central HEA concern with student loan availability. Id. Accordingly, the cause of

action was an obstacle to the purposes and objectives of HEA. That holding has

no applicability here, where DOE is silent and where Plaintiffs’ claims have no

impact on student lending.

      In any event, Courts have explicitly held that the existence of HEA

regulations does not preclude private enforcement of subjects covered by those

regulations:

      Nor does the fact that only the Secretary is authorized to enforce the HEA
      compel the conclusion that College Loan’s pursuit of its state law claims,
      relying in part on violations of the HEA or its regulations, will obstruct the
      federal scheme. To the contrary, the Supreme Court (and this Court as
      well) has recognized that the availability of a state law claim is even more
      important in an area where no federal private right of action exists.

Coll. Loan Corp., 396 F.3d at 598 (citations omitted) (emphasis added).


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      Defendants cannot identify any HEA objective for “uniform enforcement”

by the Secretary of Education that would exclude all state law remedies. To the

contrary, the HEA regulatory scheme contemplates civil actions, something

several courts (including this one) have noted. Just as Defendants could not

identify a single court that has held the §1098g express provision applies to

claims unrelated to the direct lending or administration of student loans, so too

they cannot identify any case holding that the Secretary’s HEA enforcement

authority preempts all state law causes of action. To the contrary, courts

routinely permit private actions that concern areas the HEA regulates.

      For example, this Court’s decision in Parola v. Citibank (S. Dakota) N.A.,

894 F. Supp. 2d 188 (D. Conn. 2012)—which Defendants improperly cite for the

proposition that Plaintiffs could not pursue a state-law remedy for an alleged HEA

violation “that had specific statutory and regulatory consequences,” MTD, at 19—

is instructive. In that case, a student claimed she was improperly deprived of the

ability to lower her monthly loan payment amounts pursuant to an income-based

adjustment. Parola, 894 F. Supp. 2d at 195. Far from finding it was the Secretary

of Education that had the “exclusive” authority to enforce the alleged violations,

this Court analyzed in detail the plausibility of plaintiff’s CUTPA claims, including

whether the prongs of the “cigarette rule” were met and whether ascertainable

loss was properly alleged. Id. This Court never once indicated that preemption

was even a concern—even in a case squarely concerned with the administration

of a student loan. In other words, in Parola, this Court did precisely what




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Defendants now argue it never can: interpret HEA regulatory provisions and

determine whether specified conduct violated the HEA.

      Similarly, in Cliff, the Eleventh Circuit rejected defendant’s “contention that

permitting a private cause of action would undermine Congress’s enforcement

scheme [which] relies on the authority vested in the Secretary of Education.” 363

F.3d at 1128. In that case, the Secretary had “expressed the belief that a private

cause of action is not only consistent with Congress’s enforcement scheme, but

a necessary part of it.” Id. Indeed, it found that the HEA enforcement scheme

and plaintiff’s state consumer protection claims “work in tandem.” Id., at 1127.

      Ignoring the authority above, Defendants put misplaced reliance on this

Court’s decision in Linsley, 2012 WL 1309840. While it is true that this Court

dismissed the plaintiff’s CUTPA allegations based on express preemption, it is

also true that this Court also ultimately certified a class of borrowers based on

the same allegations that a debt collector misrepresented HEA requirements and

therefore violated the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §

1692, et seq. Linsley v. FMS Inv. Corp., 288 F.R.D. 11, 18 (D. Conn. 2013).

      Defendants also rely upon 34 C.F.R. §§668.81-91 for the proposition that

“Congress and the DOE have determined that violations of the HEA by third-party

servicers should by enforced by the DOE, itself, not by students through private

civil actions.” But those regulations—concerned with hearing and appeals

procedures—say nothing of the sort.

      Defendants argue that Plaintiffs cannot “support their CUTPA or other state

consumer protection claims based on” certain alleged violations of HEA



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regulations. MTD, at 21. Defendants also argue that “Plaintiffs’ consumer-

protection claims in Counts One and Two depend upon a finding that Defendants

violated HEA and its implementing regulations.” Id., at 19. First, no Plaintiffs’

consumer protection claims are wholly “predicated on” violations of the HEA or

of DOE regulations. Unlike the situation in Chae and other cases, where plaintiffs

alleged that defendants violated state law even though they complied with federal

law, there is no “conflict” when Plaintiffs allege that Defendants did not comply

with federal law or regulation. Second, “the courts have generally authorized

state tort claims to be pursued in areas where the federal government has

regulated, even when such claims are in some manner premised on violations of

federal regulations,” Coll. Loan Corp., 396 F.3d at 598-99 (emphasis added)

(citing English v. Gen. Elec. Co., 496 U.S. 72, 85 (1990). Even for claims premised

on HEA violations, state law claims are not barred.

      As outlined in the Statement of Facts, Plaintiffs allege that Defendants

collectively delivered a one-two-three punch to Plaintiffs that violated their

statutory and common law rights: (1) Defendants defaulted Plaintiffs into a Higher

One account without their consent; (2) Defendants made misrepresentations,

omissions, and foreclosed other banking options in order to inhibit Plaintiffs from

opting out of that default; and (3) Defendants charged Plaintiffs unconscionable

and deceptive bank fees that were not disclosed to them. Each is independently

actionable without reference to any federal law or regulation. In addition, some of

this conduct offends both public policy and several federal laws and regulations.

But none of the allegations regarding Defendants’ tripartite debit card



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disbursement process are premised only on HEA violations.

      A CUTPA violation can be established by showing either a stand-alone

deceptive practice or an act that amounts to a violation of public policy. Cheshire

Mortgage Services, Inc. v. Montes, 223 Conn. 80, 105-06, 612 A.2d 1130, 1143

(1992). An act is considered deceptive if it has the tendency or capacity to

deceive. Shell Oil Co. v. Wentworth, 822 F. Supp. 878, 884-885 (D. Conn. 1993).

Plaintiffs’ CUTPA claim (as well as their alternative California Unfair Competition

Law claims) alleges both that Defendants’ violations of the HEA implicate those

laws’ “unfairness” or “unlawfulness” prongs and that Defendants’ conduct is, on

its own, deceptive, without reference to violation of other statutes or regulations.

See CAC, ¶ 183 (“Defendants’ policies and practices as alleged herein constitute

‘deceptive trade practices’ under CUTPA because the policies and practices have

a tendency and capacity to deceive consumers.”). Only Plaintiffs’ claims based

on consumer protection statutes’ unlawful or unfairness prongs are even

arguably “premised on” this Court finding HEA violations. Plaintiffs’ other

“deceptive practices” allegations are independent of HEA violations.

      Therefore, even if the Court found that claims “predicated” on violations of

the HEA were in fact preempted (it should not), that would simply eliminate

“unfairness” or “unlawful” claims based on the HEA—but could not eliminate the

CUTPA or alternative consumer protection claims altogether.

D.    Plaintiffs have met Rule 8(a) pleading standards with respect to all claims.

      Defendants argue that several of Plaintiffs’ claims fail to meet Rule 8(a)

pleading standards, arguing that “Plaintiffs plead nothing about their own



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individual experiences.” MTD, at 22 and “plead no facts relevant to their actual

circumstances.” MTD, at 24. To the contrary, the CAC painstakingly describes

each stage of the uniform financial aid delivery and debit card account-opening

process to which each Plaintiff was subjected. Every one of the dozens of

allegations regarding Defendants’ debit card account disbursement activities is

an “actual circumstance” relevant to each Plaintiff. The CAC further details how

these uniform practices individually caused damages to each of the individual

Plaintiffs. CAC, ¶¶ 19-30. Those paragraphs state, for each Plaintiff, detailed

causation allegations, such as “due to the extremely limited number of Higher

One ATMs provided, [Plaintiff] was forced to use non-Higher One ATMs to access

her financial aid money; and because [Plaintiff] was not properly informed that

she was required to use her Higher One card as a ‘credit’ card at the point of sale,

or because there was no option to select ‘credit’ at the point of sale.” Id. This

detail for each named Plaintiff is far from “conclusory.” To the contrary, each

Plaintiff has alleged personal and specific causation. Combined with Plaintiffs’

other allegations of uniform deceptive practices, the allegations far exceed Rule

8(a) pleading minimums.

      Still, Defendants complain about those allegations, arguing that “the

language of each paragraph in that section varies only to the extent that the

Plaintiffs incurred different types of fees.” MTD, at 22. That the allegations are

similar for each Plaintiff is as one would expect, since, again, Defendants used

uniform practices. That is why this case was brought as a class action.




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       Defendants additionally argue that a handful of Plaintiffs’ allegations are

“implausible.” Id. But “[a] claim has facial plausibility when the pleaded factual

content allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citation omitted). The

plausibility standard is not a “probability requirement.” Id. “[I]t simply calls for

enough facts to raise a reasonable expectation that discovery will reveal

evidence” supporting a plaintiff’s claim for relief. See Twombly, 550 U.S. at 556.

Still, Defendants ask this Court to essentially determine that Plaintiffs’ allegations

are “probably” not correct—in direct contravention of Iqbal. In any event, each

allegation Defendants challenge is more than probable:

      Defendants argue that it is implausible for Plaintiffs to allege that
       Defendants opened accounts without their consent. MTD, at 22. But
       Plaintiffs specifically allege that Defendants sent each plaintiff a functional
       debit card prior to any “consent” by Plaintiffs, complete with an account
       number and unique personal information. See inter alia, CAC, Section F.

      Defendants argue that Plaintiffs have failed to allege the defects in the T&C
       and Fee Schedules. MTD, at 23. But there are entire sections of the CAC
       dedicated to doing precisely this. See e.g., CAC, ¶¶ 6, 19-30, 41, 82-86.

      Defendants argue that Plaintiffs have failed to specifically allege that ATM
       access is limited at their schools. MTD, at 23. That is just false. Each
       Plaintiff who incurred a non-Higher One ATM Fee alleges that “because,
       due to the extremely limited number of Higher One ATMs provided,
       [Plaintiff] was forced to use non-Higher One ATMs to access her financial
       aid money.” CAC, 19-30 (emphasis added).

      Defendants argue that certain Plaintiffs have failed to allege, with respect
       to Overdraft Fees, that they incurred those fees “because their accounts
       were actually permitted to be overdrawn.” MTD, at 23. That is irrelevant.
       Each was charged an overdraft/insufficient funds fee on an account funded
       with financial aid money. That violates the federal regulation prohibiting
       Plaintiffs’ accounts from being turned into devices that have the potential


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      to access credit. Further, Higher One used its contractual discretion to
      charge a fee every time a student overdrew or attempted to overdraw an
      account—even though it only said it “may” charge a fee.

      After having identified these few, easily-disposed-of examples—out of a

highly detailed, 70-page complaint—Defendants then proceed to pronounce that

“Plaintiffs simply do not plead adequate facts to plausibly support their claims or

to permit Defendants to defend.” MTD, at 23. This is a grand overstatement.

Defendants’ selective focus on a few allegations cannot be the basis for the

dismissal of entire claims. This is massively different from the situation in the

cases Defendants cite. In Pension Ben. Guar. Corp. ex rel. St. Vincent Catholic

Med. Centers Ret. Plan v. Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705 (2d Cir.

2013), an ERISA case, plaintiffs failed to “allege any facts regarding the process

by which Morgan Stanley selected the securities” at issue. 712 F.3d 705

(emphasis added). In the instant matter, however, Plaintiffs provide detailed

allegations as to Defendants’ deceptive practices and how those practices

deceived Plaintiffs and caused damages.

      Lastly, Defendants argue that Plaintiffs’ alternative, Count II consumer

protection act claims (alleging violations of other state consumer protection

statutes), are inadequately pleaded. MTD, at 24. Those claims are pleaded in the

alternative, in the event that, pursuant to Defendants’ Motion to Strike, Plaintiffs’

national CUTPA class action claims are stricken. The CUTPA claim is, of course,

extremely detailed. CAC, ¶¶ 177-204. The alternative consumer protection act

claims incorporate those allegations. Id., ¶ 205. Therefore, they are also, by

incorporation, extremely detailed. Because Defendants do not argue under Rule



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8(a) that the CUTPA claim is inadequately pleaded, and because the elements of

the CUTPA claim are incorporated into the alternative consumer protection law

causes of action, Defendants cannot assert that they have not been put on notice

of the claims made against them in the other consumer protection claims.

      Defendants’ citation to this Court’s decision in Davis v. Connecticut Cmty.

Bank, N.A., 3:10CV261 VLB, 2013 WL 1296473 (D. Conn. Mar. 26, 2013) is

unavailing. First, that decision was at the summary judgment stage, where a full

factual record existed. Second, in Davis, plaintiffs provided no specificity in their

CUTPA allegation, merely incorporating their entire complaint in general:

“Plaintiffs assert that their CUTPA claims are predicated on every single one of

their other claims previously pled in their amended complaint such as their

breach of contract, breach of fiduciary duty, conversion and theft claims as

indicated by the fact that all their prior allegations were expressly incorporated

into their CUTPA claim in the amended complaint.” Davis, 2013 WL 1296473 at

*15. As such, the Plaintiffs’ CUTPA allegations “fail[ed] to identify which acts of

the Bank offend what public policy as established by which statutes or common

law or other established concept of unfairness.” Id. That infirmity does not

plague Plaintiffs alternative consumer protection claims, for the simple reason

that the well-pleaded CUTPA allegation properly identifies the basis for both

“deceptive practices” and “unfair/unlawful” practices. Moreover, the alternative

California UCL claim makes the additional allegations required under that statute,

in addition to incorporating the CUTPA allegations. CAC, ¶ 207 (a)-(h).




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      If, however, this Court finds that Plaintiffs’ alternative consumer protection

claims are inadequately pleaded, any dismissal should be without prejudice, and

Plaintiffs should be provided the opportunity to replead those claims.

E.    Defendants improperly ask this Court to selectively dismiss certain
      allegations.

      Defendants argue that “certain allegations upon which Plaintiffs rely to

support [the CUTPA and alternative consumer protection act claims] do not, as a

matter of law, rise to the level of unfair or deceptive practices necessary to

sustain those claims.” MTD, at 11. Defendants then ask this Court to dismiss

four allegations (not claims), regarding (1) “cobranding;” (2) charging for access

to financial aid funds in violation of federal regulation; (3) labeling the students

cards’ with the word “DEBIT”; and (4) violating the E-Sign Act. But this Court

should not engage in this exercise. Contrary to the analysis Defendants invite

this Court to undertake, it is well-settled that a complaint must be read “as a

whole, not parsed piece by piece to determine whether each allegation, in

isolation, is plausible.” Braden, 588 F.3d at 594 (citing Vila v. Inter-Am. Inv., Corp.,

570 F.3d 274, 285 (D.C. Cir. 2009)). There is no recognized mechanism for a court

in a Rule 12(b)(6) proceeding to dismiss individual allegations, as Defendants

improperly ask the Court to do here.

      In the interest of completeness, however, Plaintiffs will briefly respond to

Defendants’ criticism of each of the four challenged allegations.




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      1.     Plaintiffs plausibly allege that “cobranding” and “partner”
             representations were deceptive.

      Defendants argue it was not deceptive for Higher One to tout itself as a

“partner” of Plaintiffs’ colleges. Higher One may well be a college’s “partner” for

purposes of disbursement; that is beside the point. What Plaintiffs challenge is

Higher One’s representation that the glow of such a “partnership” extended to

Higher One’s debit card and checking account offerings. Plaintiffs allege Higher

One intentionally tried to confuse students into believing their school’s decision

to “partner” with Higher One extended to a recommendation to students on which

checking account to choose. Each Plaintiff has individually alleged that he or she

“believed these representations to indicate that his or her school endorsed or

required Higher One’s checking account as the best or only way to receive

financial aid money. CAC, ¶ 56. Without any basis, Defendants ask this court to

find that each of Plaintiffs’ sworn beliefs are implausible. There is no basis for

such a ruling, especially at a stage where there is no factual record.

      With respect to “cobranding,” Higher One relies upon the Dear Colleague

Letter discussed at length in Section B2, supra, for the proposition that “there are

no prohibitions on co-branding,” MTD, at 11. But that advisory, non-binding letter

actually says: “Can a debit card provider participate with an institution by

displaying each entity’s logo on either the student’s school identification card or

single-use debit card?” Answer: “Currently there are no title IV prohibitions

disallowing the debit card provider and the institution from displaying their

respective logos on either the student’s identification card or debit card.” This

guidance is inapplicable on its face because the Higher One debit cards are not


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“single-use.” But even if it were applicable, the lack of a prohibition is not

tantamount to a “free pass” to use a school’s logo limitlessly. Plaintiffs plausibly

allege that the logoed debit cards, combined with the high pressure disbursement

choice process described elsewhere in the CAC, worked to deceive students and

to enhance the pressure they were already under not to opt-out of the Higher One

“default” for financial aid delivery.

      2.     Plaintiffs plausibly allege that Defendants charged fees to access
             financial aid funds in violation of federal regulation.

      Defendants argue that they do not charge a fee for opening an account,

and therefore that Plaintiffs’ allegations that they were charged fees to access

their own financial aid money are implausible. But Defendants’ semantic parsing

cannot obviate the fact that students are charged fees for access to their own

financial aid money as soon as the Higher One account is open. Indirectly or

directly, Plaintiffs paid money to Higher One to access their protected financial

aid funds. This violates HEA policy. Indeed, the very same Dear Colleague Letter

Defendants rely upon extensively in other contexts states that “regardless of how

students receive their title IV credit balance funds, an institution, and any third-

party servicer, is prohibited from charging a fee for delivering those title IV

funds” (emphasis added). Plaintiffs allege Defendants charge fees for delivery of

financial aid funds via PIN-based Transaction Fees, Non-Higher One ATM Fees,

and Overdraft Fees. That those bank fees are not charged at the time of account

opening does not cure Higher One’s violation of this public policy. Higher One’s

delayed assessment of the inevitable fees does not put Defendants into

compliance with the federal policy prohibiting fees to access financial aid money.


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      3.     Plaintiffs plausibly allege that placing the word “DEBIT” on students’
             cards, and failing to disclose a fee for using the card as a debit card,
             was deceptive.

      Plaintiffs allege that “Higher One did not adequately disclose [PIN-Based

Transaction Fees] to Plaintiffs, and misled Plaintiffs by placing the term ‘debit’ on

the card and by referring to the ‘debit’ MasterCard in its contract documents,

when, in fact, Plaintiffs had to select the ‘credit’ option in order to avoid the

fee.” CAC, ¶ 116. Defendants ask this Court to decide, without any factual

record, that it cannot possibly be deceptive to call a “debit” card “what it is,”

MTD, at 31, then to charge a 50-cent fee every time a student uses it as a debit

card. Defendants tout the purported fact that Higher One gave “straightforward”

instructions on how to avoid the PIN-based Transaction Fee in the Fee

Schedules. What Defendants do not tell this Court, however, is that the PIN-

Based Transaction Fee was mentioned nowhere in the T&C. It was mentioned in

a doubly-submerged portion of the Fee Schedules only accessible by hyperlink

embedded in the digital T&C—and even then only disclosed if a student scrolled

down to the bottom of that particular web page. CAC, ¶ 83.

      Plaintiffs plausibly allege that the word “DEBIT,” along with a contract that

nowhere specified that a PIN-Based Transaction Fee would be charged, deceived

them. There is no basis for this Court to discredit Plaintiffs’ sworn allegations

that they each “incurred PIN-based Transaction Fees because they were not

aware they had to use the Higher One card as a ‘credit’ card at the point of sale,

or because there was no option to select ‘credit’ at the merchant, or for both

reasons.” CAC, ¶ 121.



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      4.     Plaintiffs’ E-Sign Act allegation is well-plead, not as an independent
             basis for relief under CUTPA, but as a supporting fact for other
             violations.

      Plaintiffs allege the E-Sign Act, 15 U.S.C. 7001, et seq., permits electronic

writings to substitute for legally required paper writings if certain procedures are

followed. Plaintiffs allege Higher One failed to follow those procedures.

Defendants complain that Plaintiffs’ allegations regarding violations of the federal

E-Sign Act lack an ascertainable loss component. MTD, at 32. But Plaintiffs

never claim that the E-Sign claim gives rise to an independent claim under

CUTPA. Rather, the E-Sign violation merely bolsters their other claims. It need

not, therefore, support a CUTPA ascertainable loss allegation on its own.

F.    Plaintiffs may maintain a claim for unjust enrichment.

      Here, Plaintiffs maintain (first and foremost), that the $0.50 PIN fees and the

out of network fees were not part of any valid contract. These fees were only

mentioned in the separate Fee Schedules, and even then only at the bottom of a

scrollable document. In an analogues situation, the Second Circuit in Specht v.

Netscape Communications Corp., 306 F.3d 17, 23, 32 (2d Cir. 2002) (Sotomayor,

J.) found such submerged terms unenforceable. In Specht, a license agreement

was located in text not visible to users on the “Download” page. Instead, “[u]sers

would have had to click onto a hyperlink, which would take the user to a separate

webpage . . . Only on that webpage was a user informed that the user must agree

to the license terms before downloading a product.”). Id., 23. Even if the user

found the license agreement, she would have had to have scrolled down to view

the terms, which were not immediately displayed. Id. The panel held that under



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these facts, plaintiffs could not be found to have assented to the contract terms:

“where consumers are urged to download free software at the immediate click of

a button, a reference to the existence of license terms on a submerged screen is

not sufficient to place consumers on inquiry or constructive notice of those

terms. Id., 32.

      While the Sprecht panel did allow a second, separate “clickwrap”

agreement to stand, that was only because, with respect to that agreement only, it

found that customers “were automatically shown a scrollable text of that

program's license agreement[.]” Id. at 21–22 (emphasis added). But here,

Plaintiffs were neither affirmatively presented with the Fee Schedules nor

required to click through it. Indeed, even when Defendants improperly try to

argue facts in their Motion, they merely argue that one Plaintiff “was required to

click ‘I agree’ to accept” the T&C—but not that a reasonably prudent internet user

would have viewed the separate Fee Schedules before doing so. MTD, at 6.

      Indeed, the very essence of a clickwrap agreement is that it “collect[s] all of

the terms of the agreement in a single dialog box and then require[s] the user to

affirmatively accept the agreement before proceeding.” This is a process that

“makes every term equally visible.” Syndicate 1245 at Lloyd's v. Walnut Advisory

Corp., CIV.A. 09-1697, 2011 WL 5825979 (D.N.J. Nov. 16, 2011) (emphases

added). That is not the case here. The Fee Schedules was separate from the

T&C, and not “equally visible” with the terms in the T&C—the latter which being

the only document that required assent.




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      As the Sprecht panel concluded that “a reference to the existence of

license terms on a submerged screen [meaning a screen that is out of view

unless the user ‘scrolls down’] is not sufficient to place consumers on inquiry or

constructive notice of those terms.” Sprecht, 306 F.3d at 32. The relevant

provisions of the Fee Schedules were classic “submerged” terms. In fact, they

were submerged twice. First, no reference to the Fee Schedules is made

anywhere on the “I Accept” page. As in Sprecht, the only reference to Fee

Schedules was located in text not visible to users on the “I Accept” page. It was

merely “hyperlinked” from the T&C. Cf. Sprecht, 306 F.3d at 24. Worse, once a

user eventually found her way to the Fee Schedules, the fee information was only

available for users who scrolled down to the next screen, the second

submersion. Id. at 23, 31-32. In these circumstances, this Court should make the

same finding as the Second Circuit did: “a consumer's clicking on a . . . button

does not communicate assent to contractual terms if the offer did not make clear

to the consumer that clicking on the . . . button would signify assent to those

terms.” Specht, 306 F.3d at 29–30.

      In any event, there is no factual record here for this Court to determine

whether a contract was actually formed. In Sprecht, on the other hand, “the

parties placed before the district court an ample record consisting of affidavits

and extensive deposition testimony by each named plaintiff” as to whether each

plaintiff saw or had the opportunity to see the terms and conditions. Id., at 28.




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G.    Plaintiffs adequately plead a claim for rescission.

      Defendants argue that rescission is not a cause of action, merely a

defense, and that Plaintiffs have failed to meet Rule 9(b) pleading standards.

Both assertions are incorrect. First, Connecticut courts recognize rescission as a

valid cause of action. Pulse Med. Instruments, Inc. v. Drug Impairment Detection

Servs., LLC, 3:09CV1920 (MRK), 2010 WL 1931029 (D. Conn. May 13, 2010) (if

plaintiff’s fraudulent inducement claims are taken as true, plaintiff “would be

entitled to void (or ‘rescind’) the contract.”). Second, as discussed in Section F,

supra, Plaintiffs have also pleaded that they would not have entered the Higher

One contract if they had known the true facts. CAC, ¶¶ 216-218. Their allegation

of a procedurally unconscionable contract formation process means that there

was no “meeting of the minds” necessary to form a valid contract. Id. In these

circumstances, their rescission claim must be allowed to proceed. See Vivid

Investments, Inc. v. Best W. Inn—Forsyth, Ltd., 991 F.2d 690, 692 (11th Cir. 1993)

(“rescission is a remedy that may be sought by the plaintiff”).

      Here, because Plaintiffs have pleaded mistake, there is at very least a

question of fact as to whether the Defendants misrepresentations were “material”

and whether Plaintiffs’ reliance upon said misrepresentations was “justifiable.”

See State v. Hartford Acc. & Indem. Co., 136 Conn. 157, 169, 70 A.2d 109, 113

(1949) (citing E. & F. Construction Co., v. Town of Stamford, 114 Conn. 250, 257,

158 A. 551) (materiality in a rescission case a question for the fact finder).

Plaintiffs’ rescission claim should not be dismissed.




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H.    Defendants breached the contract.

      As discussed above, the Fee Schedules was not properly provided to

students prior to or after account opening. CAC, ¶ 228; see also, Section F,

supra. Yet Defendants ask this Court to dismiss Plaintiffs’ breach of contract

claim based exclusively on terms contained in the “submerged” Fee Schedules.

First, as the Second Circuit found in Sprecht, a contract term provided in a

submerged document is unenforceable. Second, even if the Fee Schedules term

relating to ATM fees was a valid part of the contract, it would not say what

Defendants want it to say.

      Plaintiffs allege that Defendants breached the contract when they allowed

Plaintiffs to be charged two fees for every out-of-network ATM usage.

Defendants argue that the “contract’s terms are clear” in authorizing the

assessment of two ATM fees for each non-Higher One ATM transaction. MTD, at

33. According to Defendants, they “disclos[ed] both their own fee . . . and the fact

than an ATM operator may, in addition, charge separate fees[.]” Id. To the

contrary, the T&C and the Fee Schedules each indicate that only one fee will be

charged, and indicate that fee will be by the owner of the non-Higher One ATM.

Defendants also argue that Plaintiffs are essentially complaining about the fees

they had to pay to third-parties. That is false. Plaintiffs are complaining that the

T&C and Fee Schedules repeatedly indicate that third parties will charge them a

fee ($2.50) for using a non-Higher One ATM, but never indicate that Higher One

will charge its own fee.

      The T&C states: “When you use an ATM not owned by us, you may be



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charged a fee by the ATM operator or any network used (and you may be charged

a fee for a balance inquiry even if you do not complete a fund transfer).” CAC, at

Exh. 2. Nowhere in the T&C is there any suggestion that Higher One will charge

its own fee for the use of a non-Higher One ATM. In a separate document never

affirmatively provided to students, entitled “Fee Schedules,” there is a row

entitled, “Non-Higher One ATM Transactions (Includes all withdrawals, Inquiries,

and declines).” CAC, at Exh. 3. Nowhere on the Fee Schedules does Higher One

make it clear that this is a fee being charged by Higher One. Indeed, read

together with the T&C, it appears that this is simply a notation of the amount of

the fee charged by the non-Higher One ATM bank, which is the only fee

referenced in the T&C.

      If Higher One wanted to require its customers to pay two fees for each use

of a non-Higher One ATM machine, it was required to explicitly include that in the

T&C and the Fee Schedules. Instead, in both places, Higher One states that the

consumer will have to pay one fee for such a transaction. And the provision that

Higher One uses to explain this fee (in the Fee Schedules) does not anywhere

state that this is a fee charged by Higher One.

      The idea that Plaintiffs would have to compare and contrast two different

documents—both of which were submerged from their view—to divine the

contractual meaning supposedly intended by Higher One (that they could be

charged two ATM fees for every withdrawal) is unsupportable. It is an invitation

to obfuscation for every drafter of every adhesion contract. At the very least,

these two separate statements are ambiguous or conflicting, and the most



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reasonable interpretation is the two documents are describing the same (single)

fee. That this is the most reasonable construction of the contract is supported by

the fact that Higher One never stated anywhere the possibility of Plaintiffs or

students being charged two fees for the same transaction.

      In a contract of adhesion such as Defendants’ T&C and Fee Schedules, any

ambiguities or contradictions are strictly construed against the drafter. “Where

the language is ambiguous . . . we must construe those ambiguities against the

drafter.” Ramirez v. Health Net of Ne., Inc., 285 Conn. 1, 13-14, 938 A.2d 576, 586

(2008) (citing Cantonbury Heights Condominium Assn., Inc. v. Local Land

Development, LLC, 273 Conn. 724, 735, 873 A.2d 898 (2005)). “A contract is

ambiguous if the intent of the parties is not clear and certain from the language of

the contract itself.” Oscai v. Exit 88 Hotel LLC, 127 Conn.App. 731, 736 (2011)

(citation omitted). “If the language of the contract is susceptible to more than

one reasonable interpretation, the contract is ambiguous.” Id. at 736–37 (citation

omitted). “When the language of a contract is ambiguous. . . the determination of

the parties’ intent is a question of fact.” Connecticut Nat'l Bank v. Rehab

Associates, 300 Conn. 314, 319 (2011) (citation omitted). Higher One’s argument

at most creates a question of fact.

I.    Plaintiffs’ allegations support a claim for breach of the covenant of good
      faith and fair dealing.

      Defendants argue that Plaintiffs’ claim for breach of the covenant of good

faith and fair dealing should be dismissed because the contract supposedly

“expressly” permitted Higher One to charge the insufficient-funds fees for the

overdrawing of an account. But the contract did not “expressly permit” charging


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overdraft fees; it granted Higher One the discretion to charge them, and Plaintiffs

allege that discretion was not used in good faith. In light of a federal regulation

prohibiting students’ accounts from becoming “credit access devices,” no

reasonable student could suppose that his or her protected financial aid funds

would be taken by Higher One merely for making or attempting to make a

purchase on insufficient funds.

      The covenant of good faith and fair dealing presupposes that the terms and

purpose of a contract are agreed upon by the parties, and that what is in dispute

is a party’s discretionary application of a contract term. Renaissance

Management Co., Inc. v. Connecticut Housing Fin. Auth., 915 A.2d 290, 298 (Conn.

2007). The covenant requires that neither party do anything to injure the others

right to receive the benefits of the contract. Landry v. Spitz, 925 A.2d 334, 344

(Conn. App. 2007). When one party is given discretion to act under a contract,

that discretion must be exercised in good faith. See In re Checking Account

Overdraft Litigation, 694 F. Supp. 2d 1302, 1314-1315 (S.D. Fla. 2010). When the

party fails to exercise that discretion reasonably and with proper motive, the

covenant of good faith and fair dealing is breached. See Hughes v. TD Bank,

N.A., 856 F. Supp. 2d 673, 681 (D.N.J. 2012).

      Here, the Higher One T&C states that if the account holder fails to maintain

sufficient funds on deposit to cover all items presented for payment, “[the

Defendants] reserve the right, without prior notice to you, to either pay or return

any item presented for payment against insufficient or uncollected funds.” CAC,

at Exh. B at 8; Motion, at Exh. 3 at 8 (emphasis added). The T&C also provides



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that Higher One “may charge [the] Account a fee for the payment, or return of the

item against insufficient or uncollected funds” (emphasis added). Id. Plaintiffs

do not seek to vary these contractual terms, but only demand that the discretion

granted by those contractual terms be used in good faith. While the Higher One

T&C said it would “pay or return” insufficient funds transactions and “may”

charge a fee for doing so, in reality it charged a $29 fee every time, and charged a

fee for doing so every time.

      Contrary to Defendants’ argument that Plaintiffs failed to allege bad faith,

the CAC alleges that Higher One abused its discretion and acted in bad faith by

systematically approving overdraft transactions, CAC, ¶¶ 236-237, even though

those financial aid funds had a “protected” status under federal law. No student

would suppose Higher One would use its discretion to charge a $29 fee each time

a student so much as attempted a transaction on insufficient funds.

J.    Plaintiffs have adequately pleaded a claim for conversion.

      Defendants argue that Plaintiffs’ conversion claim must be dismissed

because Plaintiffs cannot “allege that Defendants deprived them of access to the

funds in their accounts.” MTD, at 44. That is incorrect. Plaintiffs allege

Defendants permanently deprived them of certain funds in their account, in the

form of improperly charged bank fees. There can be no doubt that Plaintiffs, at all

times, maintained a right to possession, if not ownership, of the funds in their

checking accounts; at all times depositors have instantaneous access to these

funds at ATMs and in POS transactions as well as online. Thus, even if title to the

funds passes to the bank when the funds are deposited, Plaintiffs have a right to



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possess those funds at any time. See Bank Brussels Lambert v. Credit Lyonnais,

No. 93 Civ. 6876 LMM, 2000 WL 174955, at *6 (S.D.N.Y. Feb. 15, 2000) (“[P]laintiffs,

to sustain a conversion claim, need not establish legal ownership of the funds in

question: it is sufficient if they establish an immediate right of possession.”). In

short, neither legal title nor absolute ownership of the property is necessary in

order to properly assert a claim for conversion.

      Here, Plaintiffs have alleged that Defendants wrongfully took funds in the

form of bank fees from their accounts so that they were unable to possess and

use the funds. Several courts have recently upheld conversion claims in exactly

these circumstances. In re Checking Account Overdraft Litigation, 694 F.Supp.2d

at 1322-1323 (“interference with Plaintiffs’ property interest in the funds in their

accounts constitutes a cause of action for conversion.”); Hawthorne v. Umpqua,

C-11-6700 YGR, 2012 WL 1458194, at *2 (N.D. Cal. Apr. 26, 2012) (“Here, Plaintiffs

allege that [the bank] has collected for itself specific and readily identifiable funds

from their accounts to pay for wrongfully collected overdraft fees and that it

continues to retain these funds without their consent. There is no indication that

the bank intends to return those funds. These allegations are sufficient to state a

claim for conversion”); see also Hughes v. TD Bank, N.A, 856 F. Supp. 2d 673, 680

(D.N.J. 2012); Cruthis v. Firstar Bank, N.A., 822 N.E.2d 454, 463-64 (Ill. App. Ct.

2004) (affirming a jury finding of a bank’s conversion in the form of its wrongful

withdrawals of money from the plaintiff’s general checking account); Katz v.

Belmont Nat’l Bank of Chicago, 491 N.E.2d 1157, 1159 (Ill. 1986) (bank could be

held liable for conversion because the depositor has the “absolute and



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unconditional” right to “the immediate possession” of the funds on deposit in his

account.).

      Defendants’ reliance on this Court’s decision in Davis, 2013 WL 1296473, is

unavailing. In that case, the Court found that “the Bank did not take the funds

belonging to one customer and give those funds to another to customer or apply

them to the payment of custodial fees to the exclusion of the first customer’s

rights to those funds.” Here, as discussed immediately above, Plaintiffs have in

fact alleged that Defendants have permanently deprived them of access to the

funds Higher One took in the form of bank fees. Defendants have therefore

provided no basis for the dismissal of the conversion claim.

K.    Plaintiffs adequately allege a claim for statutory theft.

      Defendants argue that Plaintiffs’ Statutory Theft (Conn. Gen. Stat. 52-564)

cause of action fails because Plaintiffs “do not allege that Higher One had a

specific intent to steal Plaintiffs’ money.” But the CAC alleges that Defendants

designed a set of policies and procedures to herd students into their Higher One

accounts and charge unconscionable and deceptive fees, and specifically alleges

that they did so “intentionally.” CAC, ¶¶ 52, 74, 98. Those allegations must be

taken as true. “[I]f facts provable in the complaint would support a cause of

action, the motion to strike must be denied . . . Thus, we assume the truth of both

the specific factual allegations and any facts fairly provable thereunder. In doing

so, moreover, we read the allegations broadly ... rather than narrowly.” Batte–

Holmgren v. Commissioner of Public Health, 281 Conn. 277, 294 (2007) (internal

quotation marks omitted). To the extent the Court believes that further proof of



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intent is necessary, Plaintiffs must be provided the opportunity to develop the

record in discovery.

                                IV.   CONCLUSION

      For the foregoing reasons, the Court should deny Defendant’s Motion to

Dismiss in its entirety. If this Court determines that any claim, or part of any

claim, is inadequately pleaded, Plaintiffs should be granted leave to re-plead. The

Second Circuit “strongly favors liberal grant of an opportunity to replead after

dismissal of a complaint under Rule 12(b)(6). Porat v. Lincoln Towers Cmty.

Ass’n, 464 F.3d 274, 276 (2d Cir. 2006).




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Dated: May 13, 2013                   Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I hereby certify that on May 13, 2013 a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.



                                               /s/ Hassan A. Zavareei
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